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 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11   Stacy Jones,                )         Case No. CV 20-6827-JFW(MRWx)
                                 )
12                 Plaintiff,    )         ORDER GRANTING STIPULATION TO
                                 )         STAY ACTION AND SUBMIT MATTER
13        v.                     )         TO BINDING ARBITRATION
                                 )
14   Charter Communications,     )
     Inc.,                       )
15                               )
                   Defendants.   )
16   ___________________________ )
17
                                        ORDER
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           The Court has read and considered the Stipulation entered
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     between the parties, Plaintiff Stacy Jones ("Plaintiff") and
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     Defendant Charter Communications, Inc. ("Charter," and
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     together with Plaintiff, the "Parties") and, good cause
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     appearing, Orders are follows:
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           1.   The dispute in this action will be submitted to
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     binding arbitration pursuant to the Residential Services
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     Agreement governing Plaintiff's account;
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           2.   This action will be and is hereby stayed pending the
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     resolution of the arbitration proceedings; and
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 1         3.   This action will be removed from the Court's active
 2   caseload until further application by the parties or Order of
 3   this Court.     The parties shall file a joint status report
 4   with the Court every 120 days regarding the status of the
 5   arbitration proceedings, with the first joint status report
 6   due on December 21, 2020.        In addition, upon completion of
 7   arbitration, counsel shall file a joint status report within
 8   fourteen (14) days.       All dates set in this action are hereby
 9   vacated.    This Court retains jurisdiction over this action
10   and this Order shall not prejudice any party to this action.
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12         IT IS SO ORDERED.
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14   Dated: September 25, 2020
                                                JOHN F. WALTER
15                                      UNITED STATES DISTRICT JUDGE
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